Case 1:04-cv-01144-RL.]-STA Document 56 Filed 06/24/05 Page 10f6 P gelD,_?__S

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IN THE UNITED sTATES DISTRICT COURT “’
FoR THE WESTERN DISTRICT OF TENNESSEE /;§,
EASTERN DIVISION ~ li" ‘ t

 

BERNADETTE CUNNINGHAM and
ROSALIND JOHNSON, Individually and
as Administratrix of the Estate of
NEKEYA MAGSBY, Deceased,

Plaintiffs,

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)
)
)
)
Vs. ) No. 04-1144-T/An
)
MICHELIN NoRTH AMERiCA, INC., )
and MICHELIN AMERICAN )
RESEARCH & DEVELOPMENT )
CoRPoRATIoN, )

)

)

Defendants.

 

ORDER DENYING MOTION TO STRIKE OR EXCLUDE EXPERT REPORT

 

The defendants in this product liability action have filed a motion asking the Court
to strike or exclude an expert report submitted by plaintiffs’ expert, David Osborne.
Plaintiffs filed a response to the motion, and defendants countered With a reply.

Plaintiffs served Osborne’s original expert report on the defendants on February 18,
2005, in accordance With the scheduling order. On April 4, 2005, one Weel< beyond the
deadline for supplementing expert reports, plaintiffs faxed to the defendants an additional
report prepared by Osborne. Defendants contend this additional report should be excluded

because it Was unjustifiany late and is unfairly prejudicial, and also because it is not

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Case 1:04-cv-01144-RL.]-STA Document 56 Filed 06/24/05 Page 2 of 6 Page|D 74

probative.

Plaintiffs state that although Osborne’s April 4 report does not concern the specific
tire that is involved in this litigation, it does concern the companion tires that were on the
vehicle at the time of the accident Plaintiffs contend that the report is supplemental in that
Osborne proffered no new theories but found the same defects in the companion tires as in
the Subj ect tire. Plaintiffs also contend that one ofthe reasons the report was seven days late
is that Osborne resides in the United Kingdom. Defendants downplay this fact, stating that
Osborne is frequently in the United States providing expert testimony in cases such as this.
That may be true, but it does not change the fact that if Osborne is not actually in the United
States it could take plaintiffs longer to communicate with him and obtain his reports

The Court finds that a delay of one week in Supplementing Osborne’s expert report
is not significant and that the plaintiffs have substantially complied with the scheduling
order. Therefore, exclusion is not justified on that basis.

Defendants also contend that they have been prejudiced, as they did not have
sufficient opportunity for their experts to examine Osborne’s April 4 report prior to
submitting their own expert reports, which were due on March 18, 2005. However, the
deadline for supplementing expert reports, for both parties, was March 28, 2005. Even if
Osborne’s report had been timely, it could still have come after defendants’ own expert
reports were served.

The Court also notes that the defendants were able to depose Osborne regarding his

Case 1:04-cv-01144-RL.]-STA Document 56 Filed 06/24/05 Page 3 of 6 Page|D 75

reports on April 15, 2005. Defendants now argue, in their reply, that they were unable to
sufficiently address the supplemental report during the deposition because of the delay.l
However, any prejudice defendants suffered from the one-week delay may warrant an
extension of the discovery deadlines; it does not warrant complete exclusion of Osborne’s
report.

Defendants also briefly argue that the April 4 report is not probative, as it concerns
only the companion tires rather than the specific tire that is the subject of the litigation,
However, as Osborne appears to have found the same defects in all the tires, the Court
declines to exclude the report on that basis at this time.2

Defendants’ motion to strike or exclude plaintiffs’ expert report is DENIED.

IT IS SO ORDERED.

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JAM D. TODD
UNI D STATES DISTRICT JUDGE

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1 The defendants’ motion to exclude appears to have been prepared prior to Osborne’s deposition on April
l§, even though it was not filed until May 3. The reply, prepared and filed after the deposition, asserts that the
defendants were “blindsided” with a report proffering a “who|e new theory of defect” on the morning of Osborne’s
deposition However, the defendants do not provide any description of the contents of that report, and it is unclear
how that report is related, if at all, to the one served on April 5. lfthat report is not the same one addressed in the
original motion to exclude, any issues related to it have not been fully briefed; therefore, the Court’s ruling
addresses only Osborne’s April 5 report

2 Defendants have stated that they intend to file a motion in limine on this issue

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This notice confirms a copy of the document docketed as number 56 in
case 1:04-CV-01144 was distributed by fax, mail, or direct printing on
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Case 1:04-cv-01144-RL.]-STA Document 56 Filed 06/24/05 Page 5 of 6 Page|D 77

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Case 1:04-cv-01144-RL.]-STA Document 56 Filed 06/24/05 Page 6 of 6 Page|D 78

Honorable .l ames Todd
US DISTRICT COURT

